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                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA,                                      Case No.   2:13-CR-6070-WFN-1
                                                               CRIMINAL MINUTES
                                      Plaintiff,
       -vs-                                                    DATE:     JANUARY 13, 2014
                                                               LOCATION: YAKIMA
KENNETH RICHARD ROWELL,
                                      Defendant.               EXPEDITED FIRST PRETRIAL
                                                               CONFERENCE AND MOTION HEARING

                                      Hon. Wm. Fremming Nielsen
   Joanna L. Knutson               Paul S. Stewart                   N/A                   Lynette F. Walters
   Courtroom Deputy                 Law Clerk                    Interpreter                Court Reporter
 Shawn N. Anderson       for    Alexander C. Ekstrom                          Rick L. Hoffman
                Government Counsel                                           Defense Counsel

       [ X ] Open Court                       [ ] Chambers                            [ ] Telecon
Defendant present in custody of United States Marshal with appointed counsel. Court queried Defendant as to the
accuracy of his name. Defendant stated his name is accurate as the Court stated it.

Initial comments by Court noting a current trial date of February 10, 2014 with a speedy trial timeout of
February 18, 2014. Court inquires of counsel as to the status of the matter. Counsel respond.

Court GRANTS Defendant's Motion to Continue Trial, making ends of justice findings.

Jury trial of February 10, 2014, is CONFIRMED STRICKEN and RESET to March 17, 2014, Y/WFN. .

An additional pretrial conference and motion hearing shall be held February 24, 2014, at 11:00 a.m., Y/WFN.
Court set briefing schedule as follows: Motions shall be filed and served no later than February 10, 2014, with
responses to be filed and served no later than February 18, 2014

Defendant executed a waiver of speedy trial rights.




[ X ] ORDER FORTHCOMING

CONVENED: 10:57 A.M.           ADJOURNED: 11:02 A.M.        TIME:          0:05 HR.     CALENDARED      [ X ]
